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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

 

JOHN G. MONTAGUE and his *
wife, GWENDOLYN W. MONTAGUE, *
*
PLAINTIFFS, *
*

VS. * NO.
*
PACIFIC INDEMNITY COMPANY *
and CHUBB GROUP OF INSURANCE *
COMPANIES, *
*
DEFENDANTS. *

 

NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants Pacific
Indemnity Company and Chubb Group of Insurance Companiesl file
this Notice of Removal, stating as follows:

l. On June 11, 2009, the Plaintiffs commenced a civil
action, which is pending in the Circuit Court of Shelby County,
Tennessee, under the style John G. Montague and his wife
Gwendolyn W. Montague v. Pacific Inderrmity Company and Chubb
Group of Insurance Companies , Docket No . CT- 002 82 8 - 09 .

Plaintiffs’ Complaint asserts claims for Breach of Contract,

Insurance Bad Faith, Fraud and Violation of the Tennessee

 

1 The “Chubb Group of Insurance Companies” is a descriptive phrase, not a
legal entity and cannot be sued as such; Chubb Group of Insurance Companies
is not licensed or incorporated in any state.

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Consumer Protection Act. Plaintiffs’ Complaint seeks monetary
recovery from the Defendants as follows:

46. Plaintiffs seek judgment for statutory, pre-

judgment interest . . . in an amount not less than
Fifty Thousand Dollars ($50,000) . . . and treble
damages . . . plus such relief as damages in an amount
not less than Five Hundred Thousand Dollars
($500,000). In addition,
A. Plaintiffs pray for judgment in the
amount of a twenty-five percent (25%)
penalty pursuant to Tennessee Code
Annotated, § 56-7-105(a) plus interest
thereon;
B. Plaintiffs pray for damages for
economic loss and for lost opportunity costs
and damages . . . in an amount to be proven

at trial but not less than Five Thousand
Dollars ($5,000);

C. Plaintiffs pray for Treble Damages

for all economic, statutory and pecuniary
loss in an amount to be proven at trial but
not less than Thirty Thousand Dollars
($30,000);

D. Plaintiffs pray for compensatory
damages in an amount to be proven at trial;

E. Plaintiffs pray for punitive damages . . .
* **
2. The Plaintiffs allege that they are residents of

Shelby County, Tennessee (see Complaint at q l); and according
to the Complaint, Plaintiffs were at all times material to this

litigation residents of Shelby County, Tennessee.

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3. The Plaintiffs served Defendant Pacific Indemnity
Company, via the Tennessee Secretary of State, with a copy of
the Summons and Complaint by mail on Monday June 15, 2009, (See

Affidavit of Darlene Lawrence attached hereto at Exhibit 1.)
From the time of the commencement of this action to the present,
Defendant Pacific Indemnity Company has been a corporation
organized under the laws of the State of Wisconsin. with its
principal place of business in the State of New Jersey. As
stated previously in Footnote 1, the Chubb Group of Insurance
Companies is not a legal entity and is not licensed or
incorporated in any state.

4. A copy of the Complaint and Summons served upon the
Defendants are attached hereto as Exhibit 2. Exhibit 2 consists
of all process and pleadings received by the Defendants, no
orders having been served upon the Defendants.

5. The subject action is a civil action of which this
Court has jurisdiction pursuant to the provisions of 28 U.S.C. §
1441 in that (a) the Plaintiffs and the Defendant Pacific
Indemnity Company are citizens of different states; (b) the
Defendant Pacific Indemnity Company is not a citizen of the
state of Tennessee; (c) the amount in controversy exceeds
$75,000, exclusive of interest and costs; and (d) this action is

within the original jurisdiction of the Court pursuant to the

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provisions of 28 U.S.C. § 1332.

6. Written notice of the filing of this Notice of Removal
is being given to the adverse parties, and a Notice of the
filing of this Notice of Removal is being filed with the Clerk
of the Circuit Court of Shelby County, Tennessee. A copy of the
Notice of Filing of Notice of Removal, excluding the exhibit
(this Notice of Removal), is attached hereto as Exhibit 3.

7. By filing this Notice of Removal, the Defendants do
not waive, either expressly or implicitly, their right to assert
any' defenses which the ZDefendants could. have asserted in the
Circuit Court of Shelby County, Tennessee.

WHEREFORE, Defendants remove to this Court the above action
now pending against them in the Circuit Court of Shelby County,
Tennessee.

Respectfully submitted,

BURCH, PORTER & JOHNSON,
a Professional Limited Liability Company

BY: s/John R. McCann
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Attorneys for Defendants

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CERTI FI CATE OF SERVICE

 

I hereby certify that I have forwarded a copy of the
foregoing to .Ldul B. Bartels, Esq., 5100 Poplar Avenue, Suite
2100, Memphis, TN 38137, via electronic filing, this 14th day
of July, 2009,

s/John R. McCann
John R. McCann

 

